Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 1of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA : SEALED INDICTMENT
-Vi- : 13 Cr.
MIHAI IONUT PAUNESCU, :
a/k/a “Virus,” | ee
Defendant. ”
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COUNT ONE

(Conspiracy to Commit Computer Intrusion)
The Grand Jury charges:

THE DEFENDANT

1. At all times relevant to this Indictment, MIHAI
IONUT PAUNESCU, a/k/a “Virus,” the defendant, was a Romanian
national residing in Bucharest, Romania.

OVERVIEW OF THE DEFENDANT’ S CRIMINAL SCHEME

2. As set forth more fully below, at all times
relevant to this Indictment, MIHAI IONUT PAUNESCU, a/k/a “Virus,”
the defendant, operated a so-called “bulletproof hosting” service
using computers in Romania, the United States, and elsewhere.
Through this service, PAUNESCU, like other bulletproof hosts,
knowingly provided critical online infrastructure to cyber
criminals that allowed them to commit online criminal activity
with little fear of detection by law enforcement. Among other

things, in exchange for fees, PAUNESCU provided cyber criminals
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 2 of 19

with Internet Protocol (“IP”) addresses and servers in a manner
designed to enable them to preserve their anonymity and evade
detection by law enforcement.

3. Through his bulletproof hosting service and as set
forth in greater detail below, MIHAI IONUT PAUNESCU, a/k/a
“Virus,” the defendant, knowingly facilitated and aided a number
of online cyber crimes relating to:

a. Malicious software (or “malware”): PAUNESCU’s

bulletproof hosting service facilitated the distribution of
malware including “banking Trojans” such as the “Gozi Virus,” the
“Zeus Trojan,” and the “SpyEye Trojan.” Banking trojans enable
cyber criminals to steal the bank account information of
unsuspecting victims, and the banking Trojans PAUNESCU aided
others in proliferating have, since their inception, caused tens
of millions of dollars in losses worldwide.

b. Distributed denial of service (“DDoS”)

attacks: PAUNESCU’s bulletproof hosting service enabled cyber
criminals to initiate and execute DDoS attacks, including through
a type of malware commonly referred to as “BlackEnergy.”

c. Spam: PAUNESCU’s bulletproof hosting service
enabled cyber criminals to transmit spam e-mail over the

Internet.
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 3 of 19

OVERVIEW OF RELEVANT CYBER CRIMES

Banking Trojans

4. Banking Trojans are typically designed to steal
personal information, such as usernames and passwords, needed to
access online accounts, including online bank accounts. Banking
Trojan malware is often concealed within seemingly harmless
documents or webpages which, in turn, are typically contained
within unsolicited electronic mail messages (or “spam”) from
apparently benign senders. When a victim opens the document or
visits the webpage, the banking Trojan malware is secretly
installed onto the victim’s computer.

5. Once installed, the malware steals user names,
passwords and other security information and forwards these data
to a so-called “command-and-control” server controlled by cyber
criminals, who then use the information to steal money from
victims’ online bank accounts. Banking Trojan malware can be
tailored by cyber criminals to steal online banking credentials
for specific banks.

6. The banking Trojan commonly known as the Gozi
Virus was first developed beginning in or about 2005 and
distributed over the Internet beginning in or about 2007. Law
enforcement officers first observed the Zeus Trojan online in or
about 2007 and the SpyEye Trojan in or about 2009. By itself,

the Gozi Virus has infected over one million victim computers
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 4 of 19

worldwide, including at least 40,000 victim computers in the
United States, as well as computers in Germany, Great Britain,
Poland, France, Finland, Italy, Turkey and elsewhere.
Collectively, the Gozi Virus, the Zeus Trojan and the SpyEye
Trojan have infected millions of computers around the world;
targeted numerous banks in the United States and elsewhere,
including at least one major United States bank headquartered in
Manhattan, New York; and caused at least tens of millions of
dollars in losses.

DDoS Attacks and BlackEnergyv Malware

7. In a DDoS attack, cyber criminals typically use a
“botnet” - a large number of computers connected to the Internet
- to bombard a victim’s computer system or web server with bogus
requests for information, causing the computer system or website

to cease functioning temporarily. Cyber criminals typically

create botnets by infecting victim computers with malware that
allows the cyber criminals to control each computer, or “bot,”
secretly and without the computer user’s knowledge or
authorization. A botnet may consist of thousands or even
millions of infected computers. Cyber criminals typically
control botnets using command-and-control servers, through which
they send individual bots instructions, including instructions to.
engage in DDoS attacks. Bot malware can also be configured to

perform other functions, such as stealing information from
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 5of 19

infected computers, in a manner similar to banking Trojans, or
transmitting spam e-mails.

8. “BlackEnergy” is the name commonly given to a
particular piece of bot malware that was initially designed to
launch DDoS attacks. Cyber criminals have used botnets created
by computers infected with BlackEnergy to launch DDoS attacks
against computer systems used by, among others, political
entities, financial institutions and commercial enterprises,
including numerous e-commerce sites operated by businesses in the
United States and elsewhere. Subsequent versions of BlackEnergy
have been modified to engage in criminal activity besides DDoS
attacks, including stealing account access credentials from
victims’ computers and causing those computers to transmit spam.

Spam

9, “Spam” is unsolicited bulk e-mail that is
transmitted over the Internet in a manner that hides the true
source of the spam and the identity of the cyber criminals who
send it (“spammers”). As noted above, spam is often a means by
which cyber criminals distribute malware over the Internet,
including banking Trojans and bot malware. Spammers typically
take steps to conceal the true origin of their spam e-mail
messages not only to hide their identity but also to defeat
certain Internet e-mail filters that might otherwise be set to

block e-mail identified as being generated by a particular
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 6 of 19

source, permitting the spam to reach the greatest number of
recipients. Among the means that spammers use to hide their
identities and the true source of the spam are bots and servers
located at bulletproof hosting services.

THE DEFENDANT'S BULLETPROOF HOSTING SERVICE

10. At various times relevant to this Indictment,
MIHAI IONUT PAUNESCU, a/k/a “Virus,” the defendant, provided
critical online infrastructure and Internet services to his
criminal clients and co-conspirators and did so in a manner that
enabled them to perpetrate their online criminal schemes and to
shield themselves from their victims and law enforcement.

11. Among other things, MIHAI IONUT PAUNESCU, a/k/a
“Virus,” the defendant:

a. Rented servers and IP addresses from
legitimate Internet service providers (“ISPs”) and then re-rented
them to cyber criminals;

b. Provided to his clients servers that, among
other things, operated as command-and-control servers for botnets
and other illegal activity or functioned as so-called “proxies,”
that is, servers that acted as online intermediaries between
victim computers and the ultimate recipients, thereby allowing
cyber criminals to shield their true identities and locations.

Cc. Monitored the IP addresses that he controlled

to determine if they appeared on a special list of suspicious or
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 7 of 19

untrustworthy IP addresses maintained by the Spamhaus Project
(“Spamhaus”), a non-profit organization whose mission is to,
among other things, track the sources of spam on the Internet,
and whose “Spamhaus Block List” contains IP addresses that
administrators at legitimate Internet service providers often
consult when determining whether to block access to their
networks from Internet traffic, including e-mails, originating
from certain IP addresses; and

d. Relocated his customers’ data to different
networks and IP addresses, including networks and IP addresses in
other countries, to avoid being blocked as a result of Spamhaus
or law enforcement scrutiny.

STATUTORY ALLEGATIONS
12. "From at least in or about 2011, up to and

including in or about November 2012, in the Southern District of
New York and elsewhere, MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, willfully and knowingly
combined, conspired, confederated, and agreed together and with
each other to commit computer intrusion offenses in violation of
Title 18, United States Code, Sections 1030(a) (2), (a) (4),
(a) (5) (A) and (a) (6), to wit, PAUNESCU knowingly would and did
provide critical online infrastructure, including servers and IP
addresses, to assist criminals engaging in unlawful online

schemes.
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 8 of 19

13. It was a part and an object of the conspiracy that
MIHAI IONUT PAUNESCU, a/k/a “Virus,” the defendant, and others
known and unknown, would and did intentionally access computers
without authorization, and thereby would and did obtain
information from protected computers, for purposes of commercial
advantage and private financial gain, and in furtherance of
criminal and tortious acts in violation of the Constitution and
the laws of the United States, and the value of the information
obtained would and did exceed $5,000, in violation of Title 18,
United States Code, Sections 1030(a) (2) and (c) (2) (B).

14. It was a further part and an object of the
conspiracy that MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, willfully, knowingly,
and with intent to defraud, would and did access protected
computers without authorization, and by means of such conduct
would and did further the intended fraud and obtain anything of
value, in violation of Title 18, United States Code, Section
1030 (a) (4).

15. It was a further part and an object of the
conspiracy that MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, willfully and knowingly
would and did cause the transmission of a program, information,
code, and command, and as a result of such conduct, would and did

intentionally cause damage without authorization, to protected
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 9 of 19

computers, in violation of Title 18, United States Code, Section
1030 (a) (5) (A).

16. It was a further part and an object of the
conspiracy that MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, in transactions
affecting interstate and foreign commerce, and computers used by
and for the Government of the United States, willfully,
knowingly, and with intent to defraud, trafficked in passwords
and similar information through which computers may be accessed
without authorization, in violation of Title 18, United States
Code, Section 1030(a) (6).

Overt Acts

17. In furtherance of the conspiracy and to effect the
illegal objects thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. From in or about late 2011 through at least
in or about mid-2012, MIHAT IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and/or his co-conspirators not named as defendants
herein caused approximately 60 computers belonging to the
National Aeronautics and Space Administration (“NASA”) to be
infected with the Gozi Virus, resulting in approximately $19,000

in losses to NASA.
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 10 of 19

b. In or about May 2011, MIHAI IONUT PAUNESCU,
a/k/a “Virus,” the defendant, provided a server through a company
he controlled that acted as a command-and-control server for a
BlackEnergy botnet.

c. Beginning in or about March 2012, MIHAI IONUT
PAUNESCU, a/k/a “Virus,” the defendant, rented a server from an
ISP in California which he and/or his co-conspirators not named
as defendants herein subsequently configured to function as a
proxy server for computers infected with the Gozi Virus and the
zeus Trojan (the “Paunescu Proxy Server”).

d. On or about June 4, 2012, MIHAI IONUT
PAUNESCU, a/k/a “Virus,” the defendant, and/or co-conspirators
not named as defendants herein caused a computer located at a
bank in Manhattan, New York, to contact the Paunescu Proxy
Server.

e. In or about May 2012, MIHAI IONUT PAUNESCU,
a/k/a “Virus,” the defendant, and/or co-conspirators not named as
defendants herein caused a NASA computer infected with the Gozi
Virus to send login credentials for an eBay account to the
Paunescu Proxy Server without the NASA computer user’s knowledge
or consent.

£. At various times from at least in or about
May 2012 through in or about November 2012, MIHAI IONUT PAUNESCU,

a/k/a “Virus,” the defendant, maintained a database which

10
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 11of 19

described certain servers that he controlled or leased as being
used for, among other things, “spyeye 100%SBL,” “zeus 1OO%SBL,”
“100%sbl, phising [sic],” “100%SBL malware,” and “fake av
[antivirus] 100%SBL.”

(Title 18, United States Code, Sections 1030(b),
(c) (2) (B) and (c) (4) (B).)

COUNT TWO
(Conspiracy to Commit Bank Fraud)

18. The allegations contained in paragraphs 1 through
11 above are hereby repeated, realleged, and incorporated by
reference as if fully set forth herein.

19. From at least in or about 2011, up to and
including in or about November 2012, in the Southern District of
New York and elsewhere, MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, willfully and knowingly
combined, conspired, confederated, and agreed together and with
each other to commit bank fraud, in violation of Title 18, United
States Code, Section 1344, to wit, PAUNESCU knowingly would and
did provide critical online infrastructure that was used to
support malware designed to steal account access information for
bank accounts in the United States and elsewhere.

20. It was a part and an object of the conspiracy that
MIHAI IONUT PAUNESCU, a/k/a “Virus,” the defendant, and others
known and unknown, willfully and knowingly would and did execute

a scheme and artifice to defraud a financial institution, the

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Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 12 of 19

accounts and deposits of which were then insured by the Federal
Deposit Insurance Corporation (“FDIC”), and to obtain moneys,
funds, credits, assets, securities, and other property owned by,
and under the custody and control of, a financial institution, by
means of false and fraudulent pretenses, representations, and
promises, in violation of Title 18, United States Code, Section
1344.
Overt Acts

21. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed in the Southern District of New York and
elsewhere:

a. By at least in or about October 2010, a co-
conspirator had caused a computer belonging to a business located
in Manhattan, New York, to be infected with the Gozi Virus, and
login credentials for online banking had been subsequently stolen
from that computer.

b. Beginning in or about March 2012, MIHAI IONUT
PAUNESCU, a/k/a “Virus,” the defendant, rented the Paunescu Proxy
Server, which he and/or his co-conspirators subsequently
configured to operate as a proxy server for computers infected
with the Gozi Virus and the Zeus Trojan.

c. On or about June 4, 2012, MIHAI IONUT

PAUNESCU, a/k/a “Virus,” the defendant, and/or co-conspirators

12
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 13 of 19

not named as defendants herein caused a computer located at a
bank in Manhattan, New York, to contact the Paunescu Proxy
Server.

d. In or about May 2012, MIHAI IONUT PAUNESCU,
a/k/a “Virus,” the defendant, and/or co-conspirators not named as
defendants herein caused a NASA computer infected with the Gozi
Virus to send login credentials for an eBay account to the
Paunescu Proxy Server without the computer user’s knowledge or
consent.

e. At various times from at least in or about
May 2012 through in or about November 2012, MIHAI IONUT PAUNESCU,
a/k/a “Virus,” the defendant, maintained a database which
described certain servers that he controlled or leased as being
used for “spyeye 100%SBL,” “zeus 100%SBL,” “100%sbl1, phising
[sic] ,” “1lOO%SBL malware,” and “fake av [antivirus] 100%SBL.”

(Title 18, United States Code, Section 1349.)

COUNT THREE

(Conspiracy to Commit Wire Fraud)
The Grand Jury further charges:
22. The allegations contained in paragraphs 1 through
11 above are hereby repeated, realleged, and incorporated by
reference as if fully set forth herein.
23. From at least in or about 2011, up to and

including in or about November 2012, in the Southern District of

13
Case 1:14-cr-O0068-LGS Document 26-2 Filed 04/28/14 Page 14 of 19

New York and elsewhere, MIHAI IONUT PAUNESCU, a/k/a “Virus,” the
defendant, and others known and unknown, willfully and knowingly
combined, conspired, confederated, and agreed together and with
each other to commit wire fraud, in violation of Title 18, United
States Code, Section 1343, to wit, PAUNESCU knowingly would and
did provide critical online infrastructure, including servers and
IP addresses, to assist criminals engaging in unlawful online
schemes.

24. It was a part and an object of the conspiracy that
MIHAI IONUT PAUNESCU, a/k/a “Virus,” the defendant, and others
known and unknown, having devised and intending to devise a
scheme and artifice to defraud, and for obtaining money and
property by means of false and fraudulent pretenses,
representations, and promises, willfully and knowingly would and
did transmit and cause to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343.

Overt Acts

25. In furtherance of the conspiracy and to effect the
illegal object thereof, the following overt acts, among others,
were committed in the Southern District of New York and

elsewhere.

14
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 15of 19

a. By at least in or about October 2010, a co-
conspirator had caused a computer belonging to a business located
in Manhattan, New York, to be infected with the Gozi Virus, and
login credentials for online banking had been subsequently stolen
from that computer.

b. Beginning in or about March 2012, MIHAI IONUT
PAUNESCU, a/k/a “Virus,” the defendant, rented the Paunescu Proxy
Server, which he and/or his co-conspirators not named as
defendants herein subsequently configured to operate as a proxy
server for computers infected with the Gozi Virus and the Zeus
Trojan.

c. On or about June 4, 2012, MIHAI IONUT
PAUNESCU, a/k/a “Virus,” the defendant, and/or co-conspirators
not named as defendants herein caused a computer located at a
bank in Manhattan, New York, to contact the Paunescu Proxy
Server.

ds. In or about May 2012, MIHAI IONUT PAUNESCU,
a/k/a “Virus,” the defendant, and/or co-conspirators not named as
defendants herein caused a NASA computer infected with the Gozi
Virus to send login credentials for an eBay account to the
Paunescu Proxy Server without the computer user’s knowledge or
consent.

e. At various times from at least in or about

May 2012 through in or about November 2012, PAUNESCU maintained a

15
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 16 of 19

database which described certain servers that he controlled or
leased as being used for “spyeye 100%SBL,” “zeus 1OO%SBL,”
‘“100%sbl, phising [sic],” “100%SBL malware,” and “fake av
[antivirus] 100%SBL.”

(Title 18, United States Code, Section 1349.)

FORFEITURE ALLEGATION AS TO COUNT ONE

26. As a result of committing the computer intrusion
conspiracy offense alleged in Count One of this Indictment, MIHAI
IONUT PAUNESCU, a/k/a “Virus,” the defendant, shall forfeit to
the United States,

a. pursuant to 18 U.S.C. § 982(a) (2) (B), any
property constituting, or derived from, proceeds obtained
directly or indirectly as a result of the offense charged in
Count One; and

b. pursuant to 18 U.S.C. § 1029(c) (1) (C), any
personal property used or intended to be used to commit the
offense charged in Count One.

Substitute Assets Provision

27. If any of the above-described forfeitable
property, as a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third party;

16
Case 1:14-cr-00068-LGS Document 26-2 Filed 04/28/14 Page 17 of 19

c. has been placed beyond the jurisdiction of
the court;

d. has been substantially diminished in value;
or

e. has been commingled with other property which

cannot be divided without difficulty;

it is the intention of the United States, pursuant to 18 U.S.C.
§ 982(b), to seek forfeiture of any other property of the
defendant up to the value of the above-described forfeitable
property.

(Title 18, United States Code, Sections 982 and 1030,
and Title 21, United States Code, Section 853.)

FORFEITURE ALLEGATIONS AS TO COUNTS TWO AND THREE
28. As a result of committing the bank fraud

conspiracy offense alleged in Count Two and/or the wire fraud
conspiracy offense alleged in Count Three of this Indictment,
MIHAI IONUT PAUNESCU, a/k/a “Virus,” the defendant, shall forfeit
to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28
U.S.C. § 2461, all property, real and personal, that constitutes
or is derived from proceeds traceable to the commission of the

offenses charged in Counts Two and Three.

Substitute Assets Provision
29. If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

17
Case 1:14-cr-0O0068-LGS Document 26-2 Filed 04/28/14 Page 18 of 19

a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or deposited

with, a third party;

c. has been placed beyond the jurisdiction of
the court;

d. has been substantially diminished in value;
or

e. has been commingled with other property which

cannot be divided without difficulty;
it is the intention of the United States, pursuant to 18 U.S.C.
§ 982(b), to seek forfeiture of any other property of the
defendant up to the value of the above-described forfeitable
property.

(Title 18, United States Code, Sections 981, 1029,

1343, 1344, and 1349; Title 28, United States Code,
Section 2461; and Title 21, United States Code, Section 853.)

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PREET BHARARA
United States Attorney

18

Case 1:14-cr-00068-LGS  Document26-2 Filed 04/28/14

Page 19 of 19

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
~ Vv. ~

MIHAI IONUT PAUNESCU,
a/k/a “Virus,”

Defendant.

SEALED INDICTMENT

13 Cr.

(18 U.S.C. §§ 1030(b) and 1349)

PREET BHARARA
United States Attorney.

- A TRUE BILL

